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												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Current Month october, 2017
			
				
				
				
				
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			Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				02oct10:00 am1:00 pmOral Arguments
							Event DetailsMonday, October 2, 2017
10:00 AM
S17G1097 Brown et al. v. RAC Acceptance East, LLC
S17G0884 Walsh v. The State
S17A1758 Veal v. The State
S17A1873 Drews v. The State

&nbsp;
							
							
									Event Details
									Monday, October 2, 2017
10:00 AM
S17G1097 Brown et al. v. RAC Acceptance East, LLC
S17G0884 Walsh v. The State
S17A1758 Veal v. The State
S17A1873 Drews v. The State
&nbsp;

								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 1:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
												
							
							
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																News and Reports		
					
				9/27/17 – CHIEF JUDGE CAUDELL TO HEAR GEORGIA SUPREME COURT CASE
						
					
				9/26/17 – THARPE DENIED STAY OF EXECUTION
						
					
				9/13/17 – SUPREME COURT OF GEORGIA LAUNCHES TWITTER ACCOUNT
						
				
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